






								NO. 12-08-00036-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


MARCUS SESSION,§
		APPEAL FROM THE 241ST

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Marcus Session appeals his conviction for possession of a controlled substance.  Appellant's
counsel filed a brief asserting compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396,
18 L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant
filed a pro se brief.  We dismiss Appellant's appeal.


Background

	Appellant was charged by indictment with possession of a controlled substance.  The alleged
offense was a second degree felony, but the grand jury also alleged that Appellant was an habitual
offender, which resulted in a punishment range of between twenty-five years and life in prison.  See
Tex. Penal Code Ann. § 12.42(d) (Vernon Supp. 2008).  Appellant pleaded guilty as charged and
pleaded true to the enhancement allegations.  He elected to have a jury determine the sentence, and
the jury assessed punishment at imprisonment for sixty years.  This appeal followed.  


Analysis Pursuant to Anders v. California

	Appellant's counsel has filed a brief in compliance with Anders and Gainous.  Counsel states
that he has diligently reviewed the appellate record and that he is well acquainted with the facts of
this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978), counsel's brief presents a thorough chronological summary of the procedural history of
the case and further states that counsel is unable to present any arguable issues for appeal.

	Appellant argues in his pro se brief that he received ineffective assistance of counsel, that 
the State made impermissible jury argument, and that he was not afforded access to a law library to
prepare his pro se brief.  We have considered the briefing and have conducted our own independent
review of the record.  See Anders, 386 U.S. at 745, 87 S. Ct. at 1400; see also Penson v. Ohio, 488
U.S. 75, 80, 109 S. Ct. 346, 350, 102 L. Ed. 2d 300 (1988).  We have found no reversible error.  See
Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).


Conclusion

	As required, Appellant's counsel has moved for leave to withdraw.  See In re Schulman, 252
S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig. proceeding); Stafford v. State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991).  We are in agreement with Appellant's counsel that the appeal is wholly
frivolous.  Accordingly, his motion for leave to withdraw is hereby granted, and we dismiss this
appeal.  See In re Schulman, 252 S.W.3d at 408-09 ("After the completion of these four steps, the
court of appeals will either agree that the appeal is wholly frivolous, grant the attorney's motion to
withdraw, and dismiss the appeal, or it will determine that there may be plausible grounds for
appeal.").

	Counsel has a duty to, within five days of the date of this opinion, send a copy of the opinion
and judgment to Appellant and advise him of his right to file a petition for discretionary review.  See 
Tex. R. App. P. 48.4; In re Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish to seek
further review of this case by the Texas Court of Criminal Appeals, he must either retain an attorney
to file a petition for discretionary review or he must file a pro se petition for discretionary review.
See In re Schulman, 252 S.W.3d at 408 n.22.  Any petition for discretionary review must be filed
within thirty days from the date of either this opinion or the last timely motion for rehearing that was
overruled by this court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed
with this court, after which it will be forwarded to the Texas Court of Criminal Appeals along with
the rest of the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for discretionary review
should comply with the requirements of Rule 68.4 of the Texas Rules of Appellate Procedure.  See 
Tex. R. App. P. 68.4; In re Schulman, 252 S.W.3d at 408 n.22.

Opinion delivered May13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.






































(DO NOT PUBLISH)


